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UNITED STATES DISTRICT COORT
FOR THE
WESTERN DISTRICT OF NEW YORK

CHRISTIAN POWELL,
Plaintiff,

v. Case No, 1:21-ev-721
CITY OF JAMESTOWN, CITY OF
JAMESTOWN CLERK, JAMESTOWN
POLICE DEPARTMENT, JAMESTOWN
POLICE CHIEF TIMOTHY JACKSON,
COUNTY OF CHAUTAUQUA,
CHAUTAUQUA COUNTY SHERIFF’S
OFFICE, CHAUTAUQUA COUNTY
SHERIFF JAMES B. QUATTRONE,
CHAUTAUQUA COUNTY
UNDERSHERIFF DARRYL W. BRALEY,
JOHN DOES 1-10 (city employees), JOHN
DOES 1-10 (county employees),

Meneame Nee” Simmer! eee!” Se! Sere Set” Sona See Nee ee ne Se” el ee” ee” ter” Sie” See”

Defendants.

OPINION AND ORDER
(Does. 9, 14}

In this case, removed from New York Supreme Court, Plaintiff Christian Powell sues the
above-captioned defendants! alleging personal injuries resulting from two incidents. First, he
alleges that law enforcement officers knew or should have known that he suffers from mental
health and other conditions, but that they used harmful force as they arrested him on

December 10, 2020 and allowed him to harm himself during the arrest, during transport to the

' The defendants can be organized into two groups: the “City Defendants” (the City of
Jamestown, the City of Jamestown Clerk, the Jamestown Police Department, Jamestown Police
Chief Timothy Jackson, and the John Does who are city employees) and the “County
Defendants” (the County of Chautauqua, the Chautauqua County Sheriff’s Office, Chautauqua
County Sheriff James B. Quattrone, Chautauqua County Undersheriff Darryl W. Braley, and the
John Does who are county employees).

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Jamestown Police Department Central Booking Bureau, and during a period while he was
restrained at the police station—all while failing to send him to a hospital or provide him with a
mental health evaluation. (Doc. 1-1 {] 24-41.) Second, he alleges that after his arraignment,
officers failed to send him to a hospital or provide him with a mental health evaluation, failed to
prevent him from harming himself, and used harmful force as they restrained him at the police
station. (/d. ff 43-46.)

The 183-paragraph Complaint seeks damages on the following theories: (1) negligence;
(2) violation of civil rights under 42 U.S.C. § 1983; (3) respondeat superior/vicarious liability;
(4) negligent hiring; (5) negligent retention; (6) negligent training and supervision; (7) assault;
(8) battery; (9) battery committed in the performance of a public duty; (10) intentional infliction
of emotional distress (“ITED”); (11) negligent infliction of emotional distress (“NIED”);
(12) failure to intervene; (13) unlawful arrest; (14) failure to treat; (15) conspiracy; and
(16) demand for punitive damages.” The City Defendants and the County Defendants have
separately filed motions to dismiss for failure to state a claim under Fed. R. Civ. P. 12(b)(6).
(Does. 9, 14.)

Background

The factual allegations in the Complaint include the following. Mr. Powell suffers from
mental health and other health conditions about which Defendants knew or should have known.
(Doc. 1-1 428.) Chautauqua County sheriffs and Jamestown Police officers arrested Mr. Powell
on December 10, 2020. Ud. 79 24, 26, 29.) Mr. Powell asserts on information and belief that the

arresting officers “possessed obvious violent propensities.” Ud. J 52.)

* The ITED and NIED claims are both numbered count “10” in the Complaint, and the
“failure to intervene” and “unlawful arrest” claims are both numbered count “11.” For clarity,
the court refers to the claims by the numbers listed above.

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I. “Incident 1”

According to Mr. Powell, the officers effecting the arrest “assaulted, battered, repeatedly
grabbed, kneed, yanked his arms, threw him to the ground, placed handcuffs on him extremely
tight causing injury, and seized him without cause or provocation.” (éd. 27.) At the time he
was arrested, Mr. Powell asked the officers to send him to an inpatient hospital to be treated for
his mental health conditions and his mental state at the time. Ud J 29.) They refused to send
him to the hospital or to provide him with a mental health evaluation. (/d.) Mr. Powell was
crying and he advised the officers that he had not slept in days, that he had not seen his children,
that he was stressed out, that he wanted to kill himself, and that he has post-traumatic stress
disorder (“PTSD”). Ud. ¥ 30.)

According to Plaintiff: “After being advised of the above, the defendants remained on top
of Plaintiff.” Ud 431.) They allowed him to “hit his head off of the ground multiple times
causing injury.” (Ud) The officers stood Mr. Powell up and he advised that he felt he had a
concussion. (/d.)

Officers placed Mr, Powell in a Jamestown Police vehicle and transported him to the
Jamestown Police Department Central Booking Bureau. (/d. 432.) Plaintiff asserts that the
officers “allowed plaintiff to hit his head on the glass separating where he and the officers were
sitting multiple times, causing injury.” U/d.) Mr. Powell “screamed that he had a concussion and
that he felt like he was going to die.” (/d.) “He again screamed that he had not slept in days.”
(id.) He “screamed that he was going to die and that he could not feel his head.” (/d)

Upon arriving at the police station, an officer stated that Mr. Powell was “fighting hard”
and that he would be going straight to the “chair” depending on his medical situation. (Ud. { 33.)

Plaintiff asserts on information and belief that the “chair” is a “restraint chair meant to prevent

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prisoners from self injury.” (/d.) An officer also stated that Mr. Powell was “bashing his head
on a flash-light.” Gd)

When officers took Mr. Powell out of the vehicle, they allowed him to “bash his head on
the trunk of a police vehicle, causing injury.” (/d. 34.) Once inside the station, Mr. Powell
screamed that his handcuffs were tight and asked officers to take them off. (ai) Mr. Powell
again stated that he had not slept in days, that he had not seen his children in weeks, that he had
no one to talk to, and that he had PTSD. Ud.) He further stated that he had not eaten, that he did
not care what happened to him, that he would rather kill himself than go to jail, and that he
needed someone to talk to. (Ud. 135.) He told officers that he wanted to go to the hospital. Ud.)

Officers did not send Mr. Powell to the hospital, place him in a restraint chair, or provide
him with a mental health evaluation at that time. (/d. 436.) Instead, they handcuffed him to a
bench at the station. (/d.) He remained handcuffed on the bench for a number of hours. (/d.)

Mr, Powell alleges that, while he was handcuffed on the bench, officers “allowed plaintiff
to smash his hands on the bench and yank on his handcuffs” and to “punch the wall and break his
ankle-handcuffs,” causing injury. (/d. 437.) He stated to officers that “he lost his kids and his
heart was gone, that he would rather kill himself, that he was psychotic, [and] that he needed
mental health help right now.” (/d.) He told officers “to use a taser on him and to put a bullet in
his head.” (d.)

Mr. Powell again stated that he was going to kill himself. Ud § 39.) Officers allowed
him to “hit his head off of the wall, causing injury.” (/d.)

Plaintiff rambled, stambled around, stretched his full body out with his leg attached

to a bench, and took his shirt off. Plaintiff yanked his handcuffs on the bench,

grabbed the phone off of the wall, violently clapped his hands, punched the wall,

fell off of the bench and landed on his side, hit his head on the wall, and rolled back
and forth moaning.

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(id.) He stated to officers that he had been drinking for the past week, that he had not showered
in days, that he was ready to kill himself, that he would rather be dead, that he has nobody and
was ready to say “bye.” (éd. § 40.) He also stated that he has explosive anger disorder, that he
was getting ready to kill himself, and that officers “better call someone in before he does it, that
he was ready to jump head first off of the bench, and that he might as well kill himself.” (/d.)
Despite Mr. Powell’s deteriorating mental health condition, Defendants did not send him to the
hospital or provide him with a mental health evaluation. Ud. 4 41.)

IL, “Incident 2”

Hours later, Mr. Powell was arraigned. (/d. 9 43.) “He was crying, trying to make
statements on the record, and acted erratically.” (/d.} “His [bizarre] behavior from hours prior
continued.” Cd.) “[D]efendants still did not send Plaintiff to the hospital or provide him with a
mental health evaluation.” (/d.)

After his arraignment—hours after he was brought to the police station—Mr. Powell
ripped his court paperwork up and threw it on the ground. (/d. 4 44.) Officers brought him to
the restraint chair. Ud.) But they “allowed Plaintiff to hit his head on the metal bars in the jail
area causing him pain and injury.” (/d.)

In the process of restraining Mr. Powell, officers “assaulted, battered, slammed Plaintiff
io the ground, and seized Plaintiff without cause or provocation.” (Id. 445.) They “pulled
Plaintiff's shirt over his head for a period of time while they restrained him.” (Ud) They
“allowed Plaintiff to bang his head and neck on the back of the restraint chair.” (fd) They
strapped him down “extremely tight,” causing pain and injury, and Mr. Powell asked that his

restraints be loosened. (/d.)

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Mr. Powell asserts that he was “at all times, using due care.” (/d 450.) He further
asserts that, as a result of Defendants’ conduct, he was “injured internally, externally, and
permanently in and about the face, head, back, chest, shoulders, limbs, torso, and nervous
system, so that he became and will continue to be disabled and will continue to suffer pain and
discomfort, distress, and psychological adjustment.” (/d. 7 49.) He alleges that he suffered
“severe, painful, permanent and personal injuries; was rendered sick, sore lame and disabled, and
suffered a loss of enjoyment and quality of life.” Ud J 85.)

Analysis

The County and City Defendants raise numerous arguments in their motions to dismiss.
They each seek dismissal of all counts on the grounds that the Complaint suffers from
impermissible “group pleading.” (Doc. 9-6 at 14; Doc, 14-9 at [4.) They also each seek
dismissal of multiple claims on qualified immunity grounds. (Doc. 9-6 at 30; Doc. 14-9 at 32.)
And each group of Defendants raises individual challenges to all of the federal and state causes
of action in the Complaint.

The court begins by reciting the applicable standard of review and addressing the issue of
which materials that may be considered under the present procedural posture. See infra Parts I—
Il. The court then proceeds to consider certain defense theories that are poteritially applicable to
multiple claims. See infra Parts I-IV. Finally, the court turns to the individual federal and
state-law claims. See infra Parts V—VI.

L Standard of Review

On a Rule 12(b)(6) motion, the court’s task is “to determine whether, accepting the

allegations contained in the complaint as true, and drawing all reasonable inferences in favor of

the non-movant, plaintiffs have stated a facially valid claim.” Ocasio v. City of Canandaigua,

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513 F. Supp. 3d 310, 319 (W.D.N_Y. 2021) (cleaned up). “In order to be found sufficient, a
pleading must set forth sufficient facts to suggest that a cause of action is legally plausible.” Jd.
(citing Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007). “Ultimately, where a plaintiff has
not nudged their claim across the line from conceivable to plausible, their complaint must be
dismissed.” /d. (cleaned up).

In addition to the facts alleged in the complaint, the court is permitted to “consider
matters of which judicial notice may be taken.” Simmons v. Trans Exp. Inc., 16 F 4th 357, 360
(2d Cir, 2021) (quoting Staehr v. Hartford Fin. Servs. Grp., Inc., 547 F.3d 406, 425 (2d Cir,
2008)). However, “[i]f, on a motion under Rule 12(b)(6) . .. matters outside the pleadings are
presented to and not excluded by the court, the motion must be treated as one for summary
judgment under Rule 56.” Fed. R. Civ. P. 12(d). In such cases “fa]!l parties must be given a
reasonable opportunity to present all the material that is pertinent to the motion.” /d.

I. Materials Outside the Pleadings

In their motions to dismiss, the County and City Defendants have each presented matters
outside the pleadings. Both defendants have supplied copies of a December 9, 2020 warrant
issued for Mr. Powell’s arrest. (Docs. 9-2, 14-2.) The County Defendants have supplied a
Chautauqua County Sheriff Filed Case Report concerning the December 10, 2020 arrest (Doc, 9-
3) and a five-paragraph declaration signed by Chautauqua County Sheriff's Deputy Stephen
Madonia (Doce. 9-4). The City Defendants have supplied declarations by four city police officers
(Carter Obergfell, Kevin Wise, Mark Conklin, and John Conti) (Docs, 14-3, 14-4, 14-5, 14-6)/

plus two Jamestown Fire Department reports (Docs. 14-7, 14-8). Each officer’s declaration

* Document 14-6 is supposed to be Officer Conti’s declaration, but the document is a
transcript from a different case involving a different officer (Sgt. Robert Bender).

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includes an exhibit of that officer’s written narrative or report of his involvement in the events
related to Mr. Powell on December 10, 2020.

A. Arrest Warrant

The December 9, 2020 warrant is a public record and is properly subject to judicial
notice. See Debellis v. Schmoke, No. 19-CV-07834 (PMH), 2021 WL 38262, at *1 n3
(S.D.N.Y. Jan. 5, 2021) (taking judicial notice of arrest warrant; citing cases). The court will
take notice of that warrant. The warrant, issued by Jamestown City Court Judge John L.
LaMancuso on December 9, 2020, authorized the arrest of Christian T. Powell. (Doc. 9-2.) An
endorsement on the warrant indicates that the arrest was carried out on December 10, 2020. Ud.)

B. Officers’ Declarations and Written Reports

Relying on the declarations of law enforcement officers, the County and City Defendants
challenge Mr. Powell’s allegations. According to the County Defendants, Deputy Madonia had
only “minimal and lawful involvement” in alleged “Incident 1,” undermining “each and every
one of Plaintiff's absurd allegations against the County Defendants. .. . Plaintiff's allegations of
wrongdoing on the part of the County Defendants are pure fantasy.” (Doc. 9-6 at 10; see also id.
at 12 (“Plaintiff maliciously misrepresents Deputy Madonia’s actions to fit his fictitious
narrative.”).) The City Defendants take a similar position. (See Doc. 14-9 at 10 (“At no time
during Plaintiff's arrest and confinement at the Jamestown Police Department was he assaulted
or injured by any party other than himself.”); see also Doc. 23 J 9 (“Plaintiff's attempt to alter
the narrative to view him as the victim in this matter when, in fact, he was arrested on an active,
lawful and valid warrant, was combative with officers and medical responders, self-harmed
despite employees[’] best attempts to intercede, caused damage to City property and

subsequently refused any offer of assistance is beyond any credibility”); id. 4 10 (“The Plaintiff

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has provided no proof, aside from his own distorted narrative to contradict any of the proof
submitted by Defendant[s] in this matter.”).)

This court has declined to take judicial notice of police reports on a Rule 12(b)(6) motion.
See Acquest Holdings, Inc. v. Travelers Cas. & Surety Co. of Am., 217 F. Supp. 3d 678, 684 n.1
(W.D.N.Y. 2016). While some courts have taken judicial notice of police reports and similar
materials on a motion to dismiss, such notice was taken to establish the existence of the reports,
not for the truth of their contents. See Alvarez v. Cnty. of Orange, N.Y., 95 F. Supp. 3d 385, 397
(S.D.N.Y. 2015) (collecting cases). Defendants in this case do not rely on the police reports for
that narrow purpose, but instead to attempt to establish the facts of their conduct during Mr.
Powell’s arrest and detention.

The court cannot take judicial notice of the reports for that purpose. Therefore, the
court’s options are to exclude the officers’ declarations and written reports, or to convert
Defendants’ motions to motions for summary judgment. See Fed. R. Civ. P. 12(d). The court
elects to exclude the declarations and written reports from consideration of the Rule 12(b)(6)
motions.

Ill. Distinguishable or Suable Defendants

A, Group Pleading

Defendants seek dismissal of ail of Mr. Powell’s claims on the basis that the Complaint
violates Fed. R. Civ. P. 8’s prohibition on group pleading. (Doc. 9-6 at 14; Doc. 14-9 at 14.)

As the Second Circuit has explained, “fa{lthough Federal Rule of Civil Procedure 8

does not demand that a complaint be a model of clarity or exhaustively present the

facts alleged, it requires, at a minimum, that a complaint give each defendant fair
notice of what the plaintiff's claim is and the ground upon which it rests.”

Tracey v. City of Geneva, No. 6:17-cv-06567-MAT, 2018 WL 1509355, at *3 (W.D.NLY.

Mar. 26, 2018) (quoting Atuahene v. City of Hartford, 10 F. App’x 33, 34 (2d Cir. 2001)). “A

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complaint that lumps ali the defendants together in each claim and provides no factual basis to
distinguish their conduct fails to satisfy this minimum standard.” /d. (cleaned up). At the same
time, “[nJothing in Rule 8 prohibits collectively referring to multiple defendants where the
complaint alerts defendants that identical claims are asserted against each defendant.” Stevenson
v. N.Y. State Dep’t of Corr. & Cmty. Supervision, No. 1:21-cv-355, 2022 WL 179768, at *10
(W.D.N.Y. Jan. 20, 2022) (alteration in original) (quoting Wyatt v. Kozlowski, No. 19-CV-
L59W(F), 2021 WL 130978, at *7 (W.D.N.Y. Jan. 14, 2021)).
This court has observed that “in situations involving an alleged assault by a group of
police officers ... courts do not insist that the complaint set forth in detail the actions of each
officer where it would be unreasonable to expect the plaintiff to be able to do so.” Bryant v.
Monroe Cnaty., No. 19-CV-6474 CJS, 2022 WL 119184, at *16 (W.D.N.Y. Jan. 12, 2022),
Where a plaintiff alleges use of excessive force during an arrest, “[ijt would be asking too much
for an arrestee to remember and plead the role each of several police officer played in [this]
alleged instance of police brutality.” Jd at *11 (alterations in original) (quoting Arias v.
FE. Hartford, No. 3:20-CV-00895 (JCH), 2021 WL 3268846, at *4 (D. Conn. July 30, 2021)).
Applying these principles to this case, the court concludes that the “group pleading”
doctrine does not entitle Defendants to dismissal of all of Mr. Powell’s claims—and certainly not
the excessive-force claim. It is true that the Complaint repeatedly describes the alleged
violations as being perpetrated by “defendants” or “officers,” without further delineation. But
Mr. Powell explicitly alleges that “Incident 1” involved Chautauqua County sheriffs and
Jamestown Police officers, (Doc. 1-1 § 26.) And he concedes that “Incident 2”—which
allegedly occurred while Mr. Powell was in the sole custody of the Jamestown Police

Department—involved only City Defendants. (See Doc. 13-1 at 12; Doc. 20-2 at 22.) In the

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context of Mr, Powell’s allegations of excessive force by law enforcement officers, the “group
pleading” doctrine is not a basis to grant dismissal under Rule 12(b)(6).

B. Suable Entities

The City Defendants argue that all of Mr. Powell’s claims against the Jamestown Police
Department and the City of Jamestown Clerk must be dismissed because they are not suable
entities. (Doc. 14-9 at 16.) Mr. Powell concedes that “Tujnder New York law, departments
which are merely administrative arms of a municipality, do not have a legal identity separate and
apart from the municipality and cannot sue or be sued.” Hall v. City of White Plains,

185 F. Supp. 2d 293, 303 (S.D.N.Y. 2002); see also Long v. Cnty. of Orleans, 540 F. Supp. 3d
344, 350 (W.D.N.Y. 2021) (“Federal courts apply state law to determine whether an entity has
capacity to be sued... . Under New York law, departments that are merely

administrative arms of a municipality do not have a legal identity separate and apart from the
_municipality, and therefore, cannot sue or be sued.”) (citations omitted), But Mr. Powell
contends that the City Defendants “have not cited case law providing that the Jamestown Police
Department/City of Jamestown Clerk (specifically) are merely administrative arms of the City of
Jamestown.” (Doc. 20-2 at 15.)

The court rejects that argument. Mr. Powell has not shown that the law on this issue is
different for the City of Jamestown. ‘The City Defendants are not required to cite a case
specifically applying this law to the City of Jamestown. Mr. Poweli’s reference to the
Jamestown Police Department’s website is unavailing. Assuming the court can consider those
extra-pleading materials, nothing on the website indicates that the Jamestown Police Department

is anything other than an administrative arm of the city.

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The County Defendants have not raised this issue as to the Chautauqua County Sheriffs
Office. However, the same doctrine applics to county sheriff's departments. Long, 540 F. Supp.
3d at 350. The court will dismiss all claims against that defendant sua sponte. See Seale v.
Madison Cnty., 929 F. Supp. 2d 51, 58 n.f (N.D.N.Y. 2013) (dismissing swa sponte claims
against the Madison County Sheriff's Office because the Sheriff's Office is an administrative
arm of a municipality and lacks the capacity to sue or be sued).
TV. Qualified Immunity

“Qualified immunity attaches when an official’s conduct does not violate clearly
established statutory or constitutional rights of which a reasonable person would have known.”
Rivas-Villegas y. Cortesluna, 142 8. Ct. 4, 7 (2021) (per curiam) (quoting White v. Pauly,
1378. Ct. 548, 551 (2017) (per curiam)); see also Hurd v. Fredenburgh, 984 F.3d 1075, 1089
(2d Cir, 2021} (quoting Okin vy. Vill. of Cornwall-On-Hudson Police Dep't, 577 F.3d 415, 432—
33 (2d Cir. 2009) (“Government actors are entitled to qualified immunity insofar as their
conduct does not violate clearly established statutory or constitutional rights of which a
reasonable person would have known.”). Courts typically consider two questions in a qualified
immunity analysis: (1) “whether the facts that a plaintiff has alleged (see Fed. Rules Civ. Proc.
12(b)(6), (c)) or shown (see Rules 50, 56) make out a violation of a constitutional right”; and
(2) “whether the right at issue was ‘clearly established’ at the time of defendant’s alleged
misconduct.” Pearson vy. Callahan, 555 U.S. 223, 232 (2009) (quoting Saucier v. Katz, 533 U.S,
194, 201 (2001)). On the latter element, the court evaluates (a) whether the defendant’s action
violated “clearly established law” and (b) whether it was “objectively reasonable” for the
defendant to believe that his or her action did not violate such law, Poe v, Leonard, 282 F.3d

123, 133 Qd Cir. 2002) (quoting Tierney v. Davidson, 133 F.3d 189, 196 (2d Cir. 1998)).

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The court recognizes that the doctrine of qualified immunity has recently been the subject
of intense public scrutiny and debate, especially as the doctrine relates to police conduct. Courts
have also weighed in on the issue. See, e.g., Jamison v. McClendon, 476 F. Supp. 3d 386, 391—
92 (S.D. Miss. 2020) (asserting that qualified immunity “operates like absolute immunity” in real
life, and that the doctrine “has served as a shield” for law enforcement officers who have failed
to respect “the dignity and worth of black lives”). Still, “[t}his Court is required to apply the law
as stated by the Supreme Court.” /d. at 392.

The procedural posture of a case affects the qualified immunity analysis. “Although
claims of qualified immunity ‘should be decided as early as possible in a case,’ it ‘is often best
decided on a motion for summary judgment when the details of the alleged deprivations are more
fully developed.’” Watkins v. Town of Webster, No. 6:21-CV-06233 EAW, 2022 WL 827824,
at *11 (W.D.N.Y. Mar. 17, 2022) (quoting Walker v. Schult, 717 F.3d 119, 130 (2d Cir. 2013)).
On a motion to dismiss, “the defense will succeed only where entitlement to qualified immunity
can be established based solely on facts appearing on the face of the complaint.” fd.

(cleaned up); see also Biswas v. Kwait, 576 F. App’x 58, 59 (2d Cir. 2014) (summary order}
(“Qualified immunity is appropriately granted on a Rule 12(b)(6) motion only if it is based on
facts appearing on the face of the complaint, exhibits to the complaint, documents incorporated
by reference, and items of which judicial notice may be taken.”). This is a “stringent” standard.
Chamberlain ex rel. Estate of Chamberlain v. City of White Plains, 960 F.3d 100, 110 (2d Cir.
2020) (quoting McKenna v, Wright, 386 F.3d 432, 436 (2d Cir, 2004)).

The following pronouncements guide the court in seeking the definition of the rights at
issue. On one hand, “[c]haracterizing the right too narrowly to the facts of the case might permit

government actors to escape personal liability.” Edrei vy. Maguire, 892 F.3d 525, 539 (2d Cir.

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2018) (quoting Johnson v. Newburgh Enlarged Sch. Dist., 239 F.3d 246, 251 (2d Cir. 2001)).
“On the other hand, defining clearly established law at too high a level of generality ‘avoids the
crucial question whether the official acted reasonably in the particular circumstances that he or
she faced,’” /d. (quoting Plumhoffv, Rickard, 572 U.S. 765, 779 (2014)).

The County and City Defendants both assert that Mr. Powell did not have any
constitutional right to “an immediate pause of a lawful arrest in order to be sent to a hospital for
psychological treatment or the performance of a field psychological evaluation by the arresting
officers.” (Doc. 9-6 at 30-31; Doc. 14-9 at 32.) That argument characterizes the rights at issue
too narrowly. It is true that the Complaint repeatedly faults Defendants for failing to send Mr.
Powell to the hospital or provide him with a mental health evaluation. But the Complaint also
alleges—among other things—that the officers applied excessive force and that the officers
failed to prevent Mr. Powell from harming himself.

Regarding the “clearly established” prong, the County and City Defendants also both
assert that “no decision by the Second Circuit Court of Appeals has held that the actions
complained of . . . constitutes deliberate indifference to serious medical needs under the
Fourteenth Amendment.” (Doc. 9-6 at 31; Doc. 14-9 at 32.) The City Defendants define the
“actions complained of” as: “[F]ailing to prevent an arrestee from suddenly and [unexpectedly]
injuring himself while he is actively resisting a lawful arrest.” (Doc. 14-9 at 32.) The County
Defendants define those actions similarly but somewhat more broadly: “[FJailing to prevent an
arrestee from suddenly and [unexpectedly] injuring himself while he is actively resisting arrest or
failing to obtain immediate mental health treatment while the arrestee is actively resisting a

lawful arrest.” (Doc. 9-6 at 31.)

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The court is unpersuaded. In the light most favorable te Mr, Powell, the Complaint does
not state or suggest that Mr. Powell was resisting arrest. To the contrary, he asserts that the force
applied during his arrest was “without cause or provocation” and that he was “at all times, using
due care.” (Doc. 1-1 427, 50.)* For the reasons stated above, under the Rule 12(b)(6)
procedure, the court cannot consider the officers’ declarations or statements to the contrary.

For similar reasons, the court rejects Defendants’ argument that they are entitled to
qualified immunity on Mr. Powell’s failure-to-intervene claim. (Doc. 9-6 at 31; Doc. 14-9
at 32.) The County Defendants maintain that Deputy Madonia “merely came to the aid of the
JPD officers whom Plaintiff was actively resisting, and the force used by Deputy Madonia
during the course of Plaintiffs arrest was objectively reasonable.” (Doc. 9-6 at 31.) The City
Defendants assert that the force they used “was objectively reasonable while the Plaintiff was
actively resisting a lawful arrest.” (Doc. 14-9 at 33.) Since the Complaint does not state or
suggest that Mr. Powell was resisting arrest, and the court is excluding the officers’ declarations
at this procedural stage, Defendants are not entitled to qualified immunity on the failure-to-
intervene claim,

V. Federal Claims

Mr. Powell’s federal claims are primarily claims under 42 U.S.C. § 1983. Section 1983
provides in relevant part:

Every person who, under color of any statute, ordinance, regulation, custom, or

usage, of any State ... subjects, or causes to be subjected, any citizen of the United

States or other person within the jurisdiction thereof to the deprivation of any rights,
privileges, or immunities secured by the Constitution and laws, shall be liable to

4 The Complaint does include an allegation that, at the police station, one officer
remarked that Mr. Powell was “fighting hard.” (Doc. 1-1 4/33.) That remark does not
necessarily establish that Mr, Powell was in fact resisting arrest.

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the party injured in an action at law, suit in equity, or other proper proceeding for
redress...

Section 1983 does not confer any substantive rights but “merely provides a method for
vindicating federal rights elsewhere conferred.” Vill. of Freeport v. Barrella, 814 F.3d 594,

600 n.8 (2d Cir. 2016) (quoting Patterson v. Cnty. of Oneida, N_Y., 375 F.3d 206, 225 (2d Cir,
2004)). “To state a valid claim under 42 U.S.C. § 1983, the plaintiff must allege that the
challenged conduct (1) was attributable to a person acting under color of state law, and

(2) deprived the plaintiff of a right, privilege, or immunity secured by the Constitution or laws of
the United States.” Forbes v. City of Rochester, No. 6:18-CV-06700 EAW, 2020 WL 1963139,
at *3 (W.D.N.Y. Apr. 6, 2020) (quoting Whalen v. Cnty. of Fulton, 126 F.3d 400, 405 (2d Cir.
1997)).

Although Count 2 is the only count that mentions 42 U.S.C. § 1983 in the title of the
count, all parties view several other counts as including § 1983 claims. The court considers the
plausibility of each of the possible federal claims below.

A. Count 1—§ 1983 Excessive Force

While it is labeled as a “negligence” claim, Count | includes an allegation that
Defendants subjected Mr, Powell to “an unreasonable and excessive use of force” in violation of
his constitutional rights. (Doc. 1-1 § 52.)° “The right not to be subject to excessive force derives
from the Fourth Amendment for arrestees, the Eighth Amendment for prisoners incarcerated for
a criminal conviction, and the Fifth or Fourteenth Amendment for pretrial detainees and

individuals who have not been arrested.” Abujayyab y. City of New York, No. 15 Civ. 10080

> In addition to excessive force, Count 1 refers to alleged failures to provide adequate
medical care, failure to supervise, failure to intervene, unlawful arrest, and other alleged wrongs.
The court considers the § 1983 excessive-force claim here and other aspects of the § 1983 claim
below,

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(NRB), 2018 WL 3978122, at *4 (S.D.N.Y. Aug. 20, 2018) (citing Edrei v, Maguire, 892 F.3d
525, 533 (2d Cir. 2018)). Mr. Powell cites all four of these Amendments (Doc. 1-1 52), but
only the Fourth and Fourteenth Amendments apply to his excessive-force claim.®

The standards applicable to excessive-force claims under the Fourth and Fourteenth
Amendments are “largely the same .. . . Both relate to the objective reasonableness of the
defendants’ use of force... .” Casiano v, Ashley, 515 F. Supp. 3d 19, 25 (W.D.N.Y. 2021)
(citing Kingsley v. Hendrickson, 576 U.S. 389, 397 (2015)). Proper application of this objective
test requires “careful attention to the facts and circumstances of each particular case.” Graham
vy. Connor, 490 U.S. 386, 396 (1989). Courts consider factors such as: “the relationship between
the need for the use of force and the amount of force used; the extent of the plaintiff's injury; any
effort made by the officer to temper or to limit the amount of force; the severity of the security
problem at issue; the threat reasonably perceived by the officer; and whether the plaintiff was
actively resisting.” Kingsley, 576 U.S. at 397.

“Because of its intensely factual nature, the question of whether the use of force was
reasonable under the circumstances is generally best left for a jury to decide.” Oakley vy. Dolan,
980 F.3d 279, 284 (2d Cir. 2020) (quoting Holland v. City of Poughkeepsie, 935 N.Y.S.2d 583,
588 (N.Y. App. Div. 2011)). “Even in the arrest context, the reasonableness of the force used is

often a jury question.” Jd. “These principles apply with even greater force at the motion to

6 The Fifth Amendment does not apply because it “governs the conduct of the federal
government and federal employees, and does not regulate the activities of state officials or state
actors.” Gordon v, Semrug, No. 14-CV-3248, 2017 WL 2241966, at *6 n.6 (W.D.N.Y. May 23,
2017) (quoting Cassidy v. Scoppetta, 365 F. Supp. 2d 283, 286 (E.D.N.Y. 2005)). Here, none of
the defendants are alleged to be federal officials. The Eighth Amendment protects prisoners
incarcerated for a criminal conviction, Edrei, 892 F.3d at 533; it does not apply here because Mr.
Powell was not an incarcerated prisoner at any relevant time.

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dismiss stage, where a court must assume the truth of the plaintiff's allegations and avoid
resolving factual disputes.” Jd.

The County and City Defendants raise three arguments against Mr. Powell’s excessive-
force claims. First, they assert that Mr. Powell’s allegations are conclusory. Second, they argue —
that the allegations fail to state a plausible excessive-force claim. Third, Defendants argue that
the Complaint lacks allegations of personal involvement by the named individual supervisory
officers.

1. Allegations of Force Used

Defendants argue that “minimal and reasonable force was used to restrain [Mr. Powell]
and take him into custody.” (Doc. 9-6 at 24; Doc. 14-9 at 31.) The court is declining to consider
the officers’ declarations that Defendants cite in support of this contention. Still, the court need
not credit “bare, conclusory allegation[s]” in the Complaint on a motion to dismiss. Smith v.
Fischer, No, 13-CV-6127-FPG, 2016 WL 3004670, at *13 (W.D.N.Y. May 23, 2016) (citing
Ashcroft v. Iqbal, 556 U.S. 662, 680 (2009)). Defendants argue that Mr. Powell’s allegations are
conclusory because he “fails to state with any specificity how he was battered, grabbed, kneed,
yanked, or thrown to the ground during the course of his arrest, or when such acts occurred
during the course of the arrest” and also “fails to specify which of the named defendants
committed these alleged acts during the course of his arrest.” (Doc. 9-6 at 23; Doc. 14-9 at 30-
31.) Mr. Powell insists that he “thoroughly pled what took place.” (Doc. 13-1 at 19; Doc. 20-2
at 22.)

For the reasons discussed above, Mr. Powell is not required to plead the role that each
law enforcement officer played in alleged brutality committed by a group of officers. The court

is also not persuaded that the Complaint is deficient for failing to include more details about the

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alleged physical contact or the precise order in which it occurred. The Complaint includes
adequate details about the officers’ alleged physical conduct during the arrest; Mr. Powell asserts
that officers “repeatedly grabbed, kneed, yanked his arms, threw him to the ground, [and] placed
handcuffs on him extremely tight.” (Doc. 1-1 927.)

This goes beyond the type of conclusory allegation of “assault” or “battery” —without
supporting facts—that would be inadequate. Hall v. City of New York, No. 99 CIV. 979(GEL),
2001 WL 1029046, at *5 n.6 (S.D.N.Y. Sept. 5, 2001); see also Youngblood v. City of New York,
No. 15 Civ. 3541(AT)(HBP), 2016 WL 3919650, at *4 (S.D.N.Y. June 27, 2016) (plaintiff faited
to plead any facts describing “the nature of the force used”). The court is mindful that “[n]Jot
every push or shove amounts to a Fourth Amendment violation. Indeed, a de minimis use of
force will rarely suffice to state a Constitutional claim.” Forbes, 2020 WL 1963139, at *4
(cleaned up). But drawing all reasonable inferences in Mr. Powell’s favor, the court concludes
that the Complaint alleges that officers used more than de minimis force during the arrest.

Cf Oakley, 980 F.3d at 283 (“When a plaintiff alleges that he was ‘thrown to the ground’ by
actions that ‘greatly exceeded the amount of force that was necessary’ and ‘clearly exceeded the
bounds of reasonable behavior,’ and that he ‘has suffered and continues to suffer harm,’ the
reasonable inference to be drawn is that he has been subjected to an unreasonable amount of
force.”’).

The circumstances alleged are also different from those in Johnson v. City of New York,
940 PF. Supp. 631 (S.D.N.Y. 1996). In that case, the plaintiff claimed that a police officer used
excessive force by handcuffing him and leaving him handcuffed for approximately 4—5 hours,
where the plaintiff complained that the handcuffs were too tight and he sought and received

treatment for injury to his hands following his release from custody. Jd. at 637. The court

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concluded that the officer was entitled to qualified immunity on the excessive-force claim. /d.
But the court did not find the plaintiff's allegations about the facts to be conclusory.
2. Injuries Caused
A plaintiff claiming excessive force “must allege that he sustained an injury.” Forbes,
2020 WL 1963139, at *4. “Conclusory allegations of ‘physical and emotional injuries... are no

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move than labels and conclusions and do not plausibly state an excessive force claim.’” Bowers
vy. City of Salamanca, No, 20-CV-1206-LIV, 2021 WL 2917672, at *9 (W.D.N.Y. July 12, 2021)
(alteration in original) (quoting Youngblood, 2016 WL 3919650, at *4). “[T]here is no threshold
degree of injury a plaintiff must allege in order to successfully pursue an excessive force claim.”
Jackson v. Mastrangelo, No. 6:17-CV-06448 EA W, 2022 WL 274043, at *6 (W.D.N.Y. Jan. 31,
2022),

As noted above, the Complaint includes an allegation that as a result of Incidents | and 2,
Mr. Powell was “injured internally, externally, and permanently in and about the face, head,
back, chest, shoulders, limbs, torso, and nervous system, so that he became and will continue to
be disabled and will continue to suffer pain and discomfort, distress, and psychological
adjustment.” Cd. 449.) Mr. Powell alleges that as a result of his injuries he “required the
services of physicians, surgeons, nurses, hospitals, and medicines and will continue to incur such
expenses in the future.” (/d. 51.) The Complaint also alleges that he suffered “severe, painful,
permanent and personal injuries; was rendered sick, sore lame and disabled, and suffered a loss
of enjoyment and quality of life.” Ud. J 85.)

These descriptions do not distinguish which injuries resulted from force applied by law

enforcement officers versus force that Mr. Powell used himself. In the present context, the court

draws all reasonable inferences in Mr. Powell’s favor. Doing that, the court can infer that at least

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some of the injuries described were the result of force applied by law enforcement officers,
Similarly, the Complaint goes beyond a mere conclusory allegation of “physical and emotional
injuries” and alleges internal and external injuries to specific locations of Mr. Powell’s body and
ongoing pain. That is sufficient at this stage of the case. Cf Bowers, 2021 WL 2917672, at *9
(denying motion to dismiss excessive-force claims where the plaintiff alleged torn muscle and
tendon plus shoulder and spine injuries).

3. Personal Involvement

To state a claim under § 1983, a plaintiff must plead “that each Government-official
defendant, through the official’s own actions, has violated the Constitution.” Tangreti v.
Bachmann, 983 F.3d 609, 616 (2d Cir. 2020) (quoting Iqbal, 556 U.S. at 676). The County
Defendants argue that Mr. Powell does not allege that Sheriff Quattrone or Undersheriff Braley
used any force against him. (Doc. 9-6 at 23.) Similarly, the City Defendants argue that the
Complaint lacks any allegation that Chief Jackson used any force against Mr. Powell. (Doc. [4-
9 at 31.)

The court agrees with Defendants that the Complaint lacks any allegations that Sheriff
Quattrone, Undersheriff Braley, or Chief Jackson personally used any physical force on Mr.
Powell at any relevant time. There are no allegations that those supervisory law enforcement
officers were even present for any of the alleged events, and no allegations from which a
reasonable factfinder could draw that inference. Mr. Powell’s assertion that the incidents
“involved CHAUTAUQUA COUNTY SHERIFFS and JAMESTOWN POLICE OFFICERS”
(Doc. 1-1 4 26) is insufficient to plausibly allege that Sheriff Quattrone, Undersheriff Braley, or
Chief Jackson personally used any physical force against Mr. Powell. See Green v. Garcia,

No. 18-CV-1745 (KMS), 2020 WL 1467359, at #5 (S.D.N.Y. Mar. 25, 2020) (dismissing

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excessive force claims against certain officers because plaintiff failed to plead that “each of them
was individually present during the alleged assault”). The court will therefore dismiss the § 1983
excessive-force claims against those individual defendants.

B. Count 2—§ 1983 Monell Claim

Count 2 is entitled “Violation of Federal Civil Rights Municipal Liability: 42 U.S.C.
§ 1983.” (Doc. 1-1 at 22.) It includes the following allegations. Mr. Powell asserts “upon
information and belief’ that prior to Incidents 1 and 2:

e “(T]he defendants had notice of the defendants employees|’] pattern and practice of using
unconstitutionally excessive force and assaults against other civilians in the course of an
unlawful arrest and members of the public while in their capacity as police officers,
including but not limited to failing to treat medical conditions and preventing self harm”;
and.

e “[T]yhe defendants had received complaints and service of prior lawsuits that the
defendant employees engaged in a pattern and practice of using unconstitutionally
excessive force assaulting civilians, and failing to treat medical conditions in the course
of unlawful arrests and members of the general public in the course of their duties as
police officers including but not limited to failing to treat medical conditions and
preventing self harm.”

(Doc. 1-1 §] 63-64.) Mr. Powell further asserts “upon information and belief” that at ali relevant
times it was “the policy and custom of the defendants” to:

e “lF]ail to adequately train and supervise its employees relating to the use of force

including but not limited to failing to treat medical conditions and preventing self harm”;

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e “Olverlook, excuse, and disregard unprovoked acts of violence by its employees in the
course of their duties as police officers, including but not limited to failing to treat
medical conditions and preventing self harm”;

e “[{T]olerate the indiscriminate use of excessive force against civilians in the course of
unlawful arrests without reference to a reasonable use-of-force continuum and without
consideration of recourse to less deadly use [of] force, and to also fail to treat medical
conditions and prevent self harm”;

* “{T]olerate and encourage the use of excessive force and assault in dealing with civilians
in the course of unlawful arrests in the course of their duties as police officers, including
but not limited to failing to treat medical conditions and preventing seif harm,”

(id. 94] 65-68.)
Defendants assert—and Mr. Powell agrees—that Count 2 is a claim against the municipal
entity defendants under Monell v. Department of Social Services of the City of New York,
436 U.S. 658 (1978). “The elements of a Monell claim are (1) a municipal policy or custom that
(2) causes the plaintiff to be subjected to (3) the deprivation of a constitutional right.” Agosto v.
N.Y.C. Dep’t of Educ., 982 F.3d 86, 97 (2d Cir. 2020). Consistent with their positions on Mr.
Powell’s other claims, Defendants argue that the Complaint fails to plausibly allege any
deprivation of a constitutional right. (Doc. 9-6 at 18; Doc. 14-9 at 19.) But the court focuses
here on Defendants’ additional argument that the Mone// claim fails for lack of allegations
plausibly establishing any municipal policy or custom. (Doc. 9-6 at 18; Doc. 14-9 at 20-21.)
Defendants argue that the Complaint lacks sufficient factual details to support an
inference of any relevant municipal policy or custom, and that Mr. Powell cannot establish such

an inference by relying only on the events during his arrest. (See Doc. 9-6 at 18; Doc, 14-9

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at 21.) Mr. Powell argues that: (1) he can show a municipal policy or custom by showing an
adequately persistent and widespread practice; (2) his allegations satisfy the less stringent
pleading standards for failure-to-train claims under Amnesty America v. Town of West Hartford,
361 F.3d 113, 130 n.10 (2d Cir, 2004); and (3) the court need not rely on the number of incidents
but must instead assess the totality of the circumstances. (Doc. 13-1 at 13; Doc. 20-2 at 18-19.)
In reply, Defendants insist that the Complaint fails to plausibly allege Monedl liability. (Doc. 18-
1 at 6; Doc. 23 at 3.)
i, Inference of Policy or Custom from Similar Incidents of Misconduct

Mr. Powell correctly observes that “[t]o show a policy, custom, or practice, the plaintiff
need not identify an express rule or regulation.” Patterson, 375 F.3d at 226. “It is sufficient to
show, for example, that a discriminatory practice of municipal officials was so ‘persistent or
widespread’ as to constitute ‘a custom or usage with the force oflaw....’” Jd. (quoting
Sorlucco v. N.Y.C. Police Dep’t, 971 F.2d 864, 870-71 (2d Cir. 1992)). Thus “a plaintiff can
rely on allegations of similar misconduct to plead that there was a widespread practice, policy or
custom.” DiPippo v. Cnty. of Putnam, No. 17-cv-7948 (NSR), 2019 WL 1004152, at *8
(S.D.N.Y. Feb, 28, 2019). And, depending on the particular circumstances, a plaintiff need not
present a large number of similar incidents. See id. (courts evaluating Monell claims should
consider “the number of instances alleged relative to the size of the [law enforcement]
department and relative to the time frame at issue”).

However, apart from relying on these statements of /aw, Mr. Powell points to no
allegations of fact referencing even one specific incident similar to the alleged events of
December 10, 2020. The Complaint’s allegations “upon information and belief” in

paragraphs 63-64 suggest that Mr. Powell seeks to rely on prior incidents and complaints of

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“defendant employees” engaging in “excessive force and assaults,” failing to treat medical
conditions, and failing to prevent self-harm. (Doc. 1-1 {| 63-64.) But the Complaint is entirely
conclusory regarding these alleged prior incidents. Such unspecified prior incidents—without
any details at all—are insufficient. See, e.g., Jackson v. City of Syracuse, No, 5:20-CV-1215
(GTS/ML), 2021 WL 3710494, at *6 (N.D.NLY. Aug. 20, 2021) (ejecting plaintiff's attempt to
establish municipal liability based on a theory of alleged “numerous” violations in the prior six
years against unidentified minorities by unidentified officers; reasoning that the complaint lacked
“facts plausibly suggesting how many (if any) of the complaints alleging the violations were
found to be substantiated, when they occurred and under what circumstances’’).
2. Inference of Policy or Custom from Failure to Train

Mr. Powell also argues that a policy or custom can be inferred from a failure to train.
(Doc. 13-1 at 13; Doc. 20-2 at 18.) Indeed, such an inference can be drawn where “the
municipality so failed to train its employees as to display a deliberate indifference to the
constitutional rights of those within its jurisdiction.” Patterson, 375 F.3d at 226 (quoting Kern vy.
City of Rochester, 93 F.3d 38, 44 (2d Cir. 1996)). Mr. Powell relies on Ferrari v. County of
Suffolk, 790 F. Supp. 2d 34 (E.D.N.Y. 2011), for the proposition that since plaintiffs have no
realistic way to learn about a municipality’s training programs without discovery, they “‘need
only plead that the city’s failure to train caused the constitutional violation,’ in order to plead
municipal liability.” 7d. at 45 (quoting Amnesty Am., 361 F.3d at 130 n.10).

Notably, the Second Circuit decided Amnesty America in 2004—defore the Supreme
Court decided fgbal (2009) and Twombly (2007). And since the Ferrari decision, the Second
Circuit has clarified that “fw]hile it may be true that § 1983 plaintiffs cannot be expected to

know the details of a municipality’s training programs prior to discovery, . . . this does not

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relieve them of their obligation under /gbal to plead a facially plausible claim.” Simms v. City of
New York, 480 F. App’x 627, 631 n.4 (2d Cit. 2012) (summary order). “There are a number of
ways that plaintiffs can plausibly allege a § 1983 claim for municipal liability premised on a
failure to train theory without having detailed knowledge of a municipality’s training programs.”
id. The court therefore respectfully declines to follow Ferrari insofar as that case suggests that
the pleading standard articulated in Amnesty America could continue to apply after Jgbal and
Twombly.

In short, as the district court stated in Simms, Mr. Powell must provide “more than a
simple recitation of [his] theory of liability, even if that theory is based on a failure to train.”
Simms v. City of New York, No. 10-CV-3420 (NGG)(RML), 2011 WL 4543051, at *2 n.3
(E.D.N.Y. Sept. 28, 2011). The Complaint fails to do that. Since all of Mr. Powell’s arguments
for inferring a policy or custom fail, Defendants are entitled to dismissal of the Monell claim.
This conclusion also requires dismissal of Count 3 (“Respondeat Superiot/Vicarious Liability”)
as duplicative of the Monell claim insofar as Count 3 seeks to hold the municipal defendants
liable for a § 1983 claim. See Monell, 436 U.S. at 691 (“[A] municipality cannot be held liable
under § 1983 on a respondeat superior theory.”).

C. Section 1983 Supervisory Liability

Mr. Powell alleges that the defendants “failed to properly supervise their employees and
the participating officers in their activities.” (Doc. 1-1 952.) The court interprets the Complaint
as seeking to impose § 1983 supervisory liability on Sheriff Quattrone, Undersheriff Braley, and
Chief Jackson. Since the Complaint names each of those defendants in their individual and

official capacities (Doc. 1-1 at 5), the court considers both such capacities here.

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1. Official Capacity

There can be no plausible claims against Sheriff Quattrone, Undersheriff Braley, and
Chief Jackson in their official capacities because, for the reasons discussed above, Mr. Powell
has failed to plead a viable Monell claim against any municipal defendant. See Ortiz v. Wagstaff,
523 F. Supp. 3d 347, 361 (W.D.N.Y. 2021) (“Section 1983 claims against municipal employees
sued in their official capacity are treated as claims against the municipality itself. Therefore, in
order to assert a viable claim against a municipal employee in his official capacity, the plaintiff
must have a viable Monell claim against the municipality.” (quoting Seri v. Town of Newtown,
573 F. Supp. 2d 661, 671 (D. Conn. 2008))).

Mr, Powell argues that his official-capacity claims are not duplicative of his Monel? claim
because the supervisory officers can be held liable on a theory of respondeat superior. (Doc. 20-
2 at 16.) In support, he cites this court’s statement in Davis v. Erie Cnty. Sheriff Dep’t, No. 17-
CV-955, 2019 WL 4926289, at *1 (W.D.N.Y. Oct. 7, 2019), that a county “may be held liable
for acts committed by the Sheriff and his deputies.” But the plaintiff in Davis brought a claim
under Title VII of the Civil Rights Act of 1964. In contrast, the court is considering here the
plausibility of a § 1983 supervisory liability against Sheriff Quattrone, Undersheriff Braley, and
Chief Jackson. Since claims against the officers in their official capacities are treated as claims
against the municipalities themselves, respondeat superior does not authorize a § 1983 claim
against those defendants in their official capacities. See Monell, 436 U.S. at 691 CTA]
municipality cannot be held liable under § 1983 on a respondeat superior theory.”).

2. Personal Capacity
To state a personal-capacity claim under § 1983, Mr. Powell must allege facts showing

Defendants’ personal involvement in the alleged constitutional deprivations. See Spavone v. N.Y.

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State Dep’t of Corr. Servs., 719 F.3d 127, 135 (2d Cir, 2013) (“It is well settled in this Circuit
that personal involvement of defendants in alleged constitutional deprivations is a prerequisite to
an award of damages under § 1983.” (quoting Colon v. Coughlin, 58 F.3d 865, 873 (2d Cir.
1995)); Pagan v. City of Rochester, No. 17-CV-6073-CJS, 2017 WI 4042545, at *7 (W.D.N.Y.
Sept. 13, 2017) (personal involvement required to establish § 1983 liability against police chief
in his personal capacity). Here, Sheriff Quattrone, Undersheriff Braley, and Chief Jackson argue
that the Complaint fails to adequately allege their personal involvement in any of the alleged
violations, (Doc, 9-6 at 19; Doc. 14-9 at 17.) Mr. Powell maintains that he has adequately
alleged that each supervisory officer violated his constitutional rights by their individual actions.
(Doc. 13-1 at 15; Doc. 20-2 at 16.)

Before the Supreme Court’s /gbal decision, the Second Circuit identified five categories
of evidence to show the personal involvement of a supervisory defendant:

(1) the defendant participated directly in the alleged constitutional violation, (2) the

defendant, after being informed of the violation through a report or appeal, failed

to remedy the wrong, (3) the defendant created a policy or custom under which

unconstitutional practices occurred, or allowed the continuance of such a policy or

custom, (4) the defendant was grossly negligent in supervising subordinates who

committed the wrongful acts, or (5) the defendant exhibited deliberate indifference

to the rights of inmates by failing to act on information indicating that
unconstitutional acts were occurring.

Colon, 58 F.3d at 873. But the Second Circuit has since held that “after /qba/, there is no special
rule for supervisory liability.” Tangreti, 983 F.3d at 618. “Instead, a plaintiff must plead and
prove ‘that each Government-official defendant, through the official’s own individual actions,
has violated the Constitution.’” Jd. (quoting Igbal, 556 U.S. at 676). “The factors necessary to
establish a § 1983 violation will vary with the constitutional provision at issue because the

elements of different constitutional violations vary.” Jd. (cleaned up).

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Mr. Powell relies on Wilson v. Soucy, No. 3:18-cv-1680 (AWT), 2020 WL 5764117,
at *6 n.1 (D. Conn. Sept. 28, 2020), for the proposition that the Colon analysis still applies in
cases where the claim does not require a showing of discriminatory intent. But Wilson was
decided before Tangreti, and the Second Circuit in Tangreti rejected the theory that the Colon
analysis still applies where the constitutional claim does not require a showing of discriminatory
intent. Tangreti, 983 F.3d at 617 & n.5. Therefore, even if Mr. Powell’s claims do not require
him to show discriminatory intent, the Colon analysis is inapplicable.

Applying the Tangreti analysis, the court agrees with Defendants that the Complaint fails
to allege the personal involvement of Sheriff Quattrone, Undersheriff Braley, and Chief Jackson.
Notably, the Complaint mentions those individuals by name only in the caption and in a section
introducing the parties. The allegation that defendants “faile[d] to adequately train and supervise
[their] employees relating to the use of force including but not limited to failing to treat medical
conditions and preventing self harm” (Doc. 1-1 § 65) is conclusory and insufficient. See Guzman
v, MeCarthy, No. 9:21-CV-1192 (MAD/ATB), 2022 WL 630873, at *3 (N.D.N.Y. Mar. 4, 2022)
(mere allegation that prison superintendent failed to train his officers to protect inmates from
harm was “not enough to plausibly allege the [superintendent’s] personal involvement”).

Similarly, the conclusory allegation that Sheriff Quattrone, Undersheriff Braley, and
Chief Jackson “established a policy or custom of deliberate indifference to unlawful conduct”
(Doc. 1-1 70) is insufficient to state a plausible claim of § 1983 supervisory liability against
those officers. “Although after Tangrefi courts must resolve claims against supervisor-
defendants without reference to Co/on’s special standards for supervisory liability, the legal
standard under the fourth Colon factor is virtually identical to the Fourteenth Amendment

deliberate-indifference standard applicable here.” Falls v. (Police Officer) Detective Michael

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Pitt, No. 16-CV-8863 (KMK), 2021 WL 1164185, at *34 (S.D.N.Y. Mar. 26, 2021). Here, the
Complaint’s allegation that Defendants received complaints in prior (unspecified) lawsuits
(Doc. 1-1 4 64) is insufficient to show that the supervisory defendants knew or should have
known of a risk of unlawful conduct, or that they deliberately or recklessly disregarded that risk.
See id. (citing Gantt v. Ferrara, No, 15-CV-7661 (KMK), 2018 WL 4636991, at *7 (S.D.NLY.
Sept. 27, 2018)) (without details of other complaints, allegations were insufficient to make out a
claim of supervisor’s deliberate indifference). And as discussed above, the Complaint lacks any
sufficiently specific allegations from which to infer a policy or custom that might have caused
the deprivation of a constitutional right.

D. Count 12—§ 1983 Failure to Intervene

In Count 12, Mr. Powell alleges that “defendants assumed a duty to protect plaintiff from
the striking, battering and assault by the defendants and their failure to provide plaintiff with
medical treatment and to protect him from self harm” and that “defendants did not take any steps
to protect the plaintiff from the assault, in fact such individuals stood idly by and watched as
plaintiff was repeatedly struck.” (Doc. 1-1 4] 153, 155.) Mr. Powell further alleges that
“defendants also did not take any steps to protect plaintiff from defendants[’] failure to provide
plaintiff with medical treatment and to protect him from self harm.” Ud. 4 155.)

Defendants seek dismissal of Count 12 on the grounds that the Complaint does not
specify which defendants committed the alleged acts and omissions. (Doc. 9-6 at 29; Doc. 14-9
at 25.) The court rejects that argument for the reasons discussed above regarding “group
pleading.” See supra Part IIf. In the context of an alleged assault by a group of law enforcement

officers, the plaintiff is not required to set forth in detail the actions and omissions of each

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officer, See Bryant, 2022 WL 119184, at *10-12 (denying motion to dismiss failure-to-
protect/intervene claims premised on multiple officers’ alleged use of excessive force).

The County Defendants further seek dismissal of Count 12 on the grounds that “Plaintiff
has failed to plausibly allege a constitutional injury in the first place.” (Doc. 9-6 at 30.) It is true
that to prevail on a failure-to-intervene claim, “a plaintiff must demonstrate the existence of an
underlying constitutional violation in which the defendant officer failed to intervene.” Grinols v.
Beers, 532 F. Supp. 3d 95, 109 (W.D.N.Y. 2021) (quoting Walker v. City of New York, No. 11-
CV-00314(CBA)(JMA), 2014 WL 12652345, at *12 (E.D.N.Y. Sept. 3, 2014)); see also
Matthews y. City of New York, 889 F. Supp. 2d 418, 443-44 (E.D.N.Y. 2012) (“[The failure to
intervene claim is contingent upon the disposition of the primary claims underlying the failure to
intervene claim.”). But since the court has denied Defendants’ motion to dismiss the excessive-
force claim, supra Section V.A., there is a plausible underlying claim of a constitutional
violation. The court will not dismiss Count 12 against the County Defendants on this basis.

Finally, the City Defendants assert that Count 12 “is baseless and without merit as the
Plaintiff was attended to numerous times in a relatively short time period.” (Doc. 14-9 at 26.)
But for that argument the City Defendants rely on extrinsic evidence that the court is excluding
from consideration in the present context. (See id.) The court will not dismiss Count 12 against
the City Defendants on this basis.

E. Count 13—§ 1983 Unlawful Arrest

‘The court interprets Count 13 as a claim for false arrest under § 1983. “The elements of a
claim of false arrest under § 1983 are substantially the same as the elements of a false arrest
claim under New York law.” Santiago v. City of Rochester, 481 F. Supp. 3d 152, 156

(W.D.N.Y. 2020) (quoting Maron v. Cnty. of Albany, 166 F. App’x 540, 541 (2d Cir. 2006)

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(summary order)). “[U]nder New York law, the elements of a false arrest claim are: (1) the
defendant intended to confine the plaintiff, (2) the plaintiff was conscious of the confinement,
(3) the plaintiff did not consent to the confinement, and (4) the confinement was not otherwise
privileged.” /d. (alteration in original) (quoting Maron, 166 F. App’x at 541). “‘The existence
of probable cause to arrest’ renders the confinement privileged ‘and is a complete defense to an
action for false arrest.’” Jd. at 156-57 (quoting Horvath v. City of New York, No. 12 CV 6005,
2015 WL 1757759(RJD)GMA), at *3 (E.D.N.Y. Apr. 17, 2015)).

“[A]n arrest pursuant to a facially valid arrest warrant is presumed to be made with
probable cause ....” Martinetti v. Town of New Hartford Police Dep’t, 12 F. App’x 29, 32
(2d Cir. 2001) (summary order). Here, the court is taking notice of the December 9, 2020
warrant for Mr. Powell’s arrest issued by Jamestown City Court Judge John L, LaMancuso,
(Doc. 9-2.) Although a plaintiff can demonstrate that his right not to be arrested without
probable cause was violated “where the officer submitting the probable cause affidavit acted
with reckless disregard for the truth,” Martinetti, 12 F. App’x at 32 (cleaned up), Mr. Powell
does not attack the probable cause affidavit. The court therefore concludes that Defendants are
entitled to dismissal of Count 13.

FE. Count 14—§ 1983 Deliberate Indifference to Medical Needs

Count 14— entitled “Failure to Treat”—asserts that Defendants were deliberately
indifferent to Mr. Powell’s right “to receive proper and adequate medical evaluation and
attention.” (Doc. 101 4175.) All Defendants argue that Mr. Powell did in fact receive
emergency medical evaluations after his arrest. (Doc. 9-6 at 25; Doc. 14-9 at 27.) But since

those arguments rely on materials outside of the Complaint that the court is excluding,

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Defendants are not entitled to dismissal of Count 14 on this basis. The court therefore turns to
Defendants’ other arguments against Count 1[4.
1. Personal Involvement of the County Defendants

The County Defendants argue for dismissal of Count 14 to the extent that it seeks to hold
them liable “for any purported deliberate indifference to medical needs while [Mr, Powell] was
in the custody of the City Defendants in the JPD squad car and the JPD’s Central Booking
Bureau.” (Doc. 9-6 at 24-25.) Mr. Powell does not appear to contest the point that no County
Defendant was present for any of the events after he was placed in the JPD squad car. But he
notes that the Complaint does allege that County Defendants were present at the time of his
atrest, at which time he allegedly made statements about his mental state and requested that he
be taken to a hospital for mental health treatment. (Dec. 13-1 at 20.) The court therefore
concludes that there is no dispute that the County Defendants are entitled to only the partial
dismissal of Count 14 that they seek.

2. Objective Serious Need and Subjective Deliberate Indifference

The Due Process Clause requires “the responsible government or governmental agency to
provide medical care to persons... who have been injured while being apprehended by the
police.” City of Revere v. Mass. Gen. Hosp., 463 U.S. 239, 244 (1983). “A pretrial detainee may
establish a § 1983 claim for aliegedly unconstitutional conditions of confinement by showing
that the officers acted with deliberate indifference to the challenged conditions.” Darnell v.
Pineiro, 849 F.3d 17, 29 (2d Cir, 2017).

This means that a pretrial detainee must satisfy two prongs to prove a claim, an

“objective prong” showing that the challenged conditions were sufficiently serious

to constitute objective deprivations of the right to due process, and a “subjective

prong’—perhaps better classified as a “mens rea prong” or “mental element

prong”—showing that the officer acted with at least deliberate indifference to the
challenged conditions.

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id. Defendants argue that Mr. Powell’s allegations are insufficient as to both the “objective” and
“subjective” prongs. (Doc. 9-6 at 27; Doc. 14-9 at 28.)

Regarding the objective prong, failure to attend to a medical condition can be a
constitutional violation “depending on the facts of the particular case.” Tolbert v. Sullivan,

No. 19-CV-1691-JLS, 2021 WL 1721025, at *9 (W.D.N.Y. Apr. 29, 2021) (quoting Harrison v.
Barkley, 219 F.3d 132, 137 (2d Cir. 2000)); see also Durr y. Slator, 558 F, Supp. 3d 1, 42
(N.D.N.Y. 2021) (pretrial detainee alleging deliberate indifference to a need for medical care
must show a “sufficiently serious need”). “In the context of mental health needs, ‘propensities to
attempt suicide, harm oneself, and/or exhibit severe depression or anxiety attacks have been
viewed as sufficiently serious.’” Tolbert, 2021 WL 1721025, at *9 (quoting Young v. Choinski,
15 F. Supp. 3d 194, 199 (D. Conn. 2014)), Here, the Complaint includes multiple allegations
that Mr. Powell expressed suicidal ideation and that he engaged in self-harm. The allegations
plausibly establish sufficiently serious mental health conditions and safety needs of which
defendants were aware. See Kelsey v. City of New York, No. 03-CV-5978(JFB)(KAM),

2006 WL 3725543, at *4 (E.D.N.Y. Dec. 18, 2006) (arrestee who exclaimed “shoot me, kill me”
and tried to grab officer’s gun had a “right to care and protection, including protection from
suicide”),

As to the subjective prong, the court considers whether the allegations plausibly indicate
that defendants knew and disregarded an “excessive risk to health or safety.” Darnell, 849 F.3d
at 35. Mr. Powell does not allege that Defendants’ conduct put him at excessive risk of death by
suicide. Cf Kelsey, 2006 WL 3725543, at *4 (“In the detainee suicide context, the relevant
inquiry is whether defendants were deliberately indifferent to the medical need of the detainee to

be protected from himself.”). Instead, Mr. Powell claims that Defendants failed to protect him

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from injuring himself and failed to provide a mental health evaluation or send him to a hospital
for mental health treatment. The court therefore focuses on Mr. Powell’s rights to mental health
care and protection from non-lethal self-harm during his arrest and detention.

For present purposes, the court takes it to be true that Mr. Powell’s mental health
condition was serious and deteriorating during Incidents | and 2. Some courts have held that
delaying a mental health screening for recently arrested detainees could be “deliberately
indifferent to the possibility that some combative mentally ill detainee might suffer harm as a
result of being jailed without receiving an immediate screening.” Lemire v. Cal. Dep't of Corr.
& Rehab,, 726 F.3d 1062, 1078 (9th Cir, 2013) (citing Gibson vy. Cuty. of Washoe, Nev,, 290 F.3d
1175, 1190 (9th Cir. 2002)). But the mentally ill individual in Lemire died of apparent suicide
and the manic-depressive detainee in Gibson died after a heart attack. Defendants argue that Mr.
Powell has not alleged how their alleged failure to provide immediate mental health screening or
treatment caused him any injury. (Doc. 9-6 at 26; Doc. 14-9 at 28.)

Mr. Powell does not attempt to quarrel with the requirement that he allege causation and
damages to state a § 1983 claim, Those are required elements of the claim. See Ctr. For Bio-
Ethical Reform, Inc. v. Black, No. 13-CV-581A, 2013 WL 12099855, at * (W.D.N.Y. Oct. 1,
2013) (To state a claim under Section 1983, a plaintiff must show: (1) actions taken under color
of law; (2) deprivation of a constitutional or statutory right; (3) causation; [and] (4) damages.”
(alteration in original) (quoting Rahman v. Fisher, 607 F, Supp. 2d 580, 584 (S.D.N_Y. 2009))),
report and recommendation adopted in part 234 F. Supp. 3d 423 (WDNY. 2017); see also
Cash v. Cnty. of Erie, 654 F.3d 324, 341 (2d Cir. 2011) (affirming jury instruction in § 1983 case
describing causation as the “third element” of the claim); Brocuglio v. Proulx, 478 F. Supp. 2d

309, 322-23 (D. Conn. 2007) (“To prevail on a section 1983 claim, a plaintiff must prove

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four elements: (1) actions taken under color of law; (2) deprivation of constitutional or statutory
tight; (3) causation; and (4) damages.” (citing 42 U.S.C. § 1983)).’

As noted above, the Complaint alleges a variety of physical and mental injuries.
See supra Section V.A.2. The allegations do not distinguish which physical injuries resulted
from force applied by law enforcement officers versus force that Mr. Powell used himself. But,
drawing all reasonable inferences in Mr. Powell’s favor, the court concludes that he has plausibly
alleged that at least some of his self-inflicted physical injuries could have been avoided if he
received mental health treatment earlier during the course of the events alleged in Incidents 1
and 2. Similarly, drawing ali reasonable inferences in Mr. Powell’s favor, the court concludes
that he has plausibly alleged that his mental health degenerated in a significant way due to a
delay in treatment on December 10, 2020.

The court has also considered Mr, Powell’s right to protection from non-lethal self-harm.
The Complaint alleges that Defendants “allowed” Mr. Powell to hit his head on objects during
the arrest and before he was brought into the police station (Doc. 1-1 | 31, 32, 34), that they
improperly handcuffed him to a bench instead of putting him in a restraint chair to prevent him
from injuring himself (id. 4 36), and that after the arraignment they “allowed” him to hit his head
on metal bars (id. { 44) and to bang his head and neck on the back of the restraint chair (7d. § 45).
Taking Mr. Powell’s allegations as true and granting him all reasonable inferences, the court
concludes that he has plausibly alleged that the defendant officers were deliberately indifferent to

Mr. Powell’s medical need to be protected from injuring himself.

7 In some jurisdictions causation is a component of the subjective prong. See Jeff v.
Penner, 439 F.3d 1091, 1096 (9th Cir. 2006) (“This second prong—defendant’s response to the
need was deliberately indifferent—is satisfied by showing (a) a purposeful act or failure to
respond to a prisoner’s pain or possible medical need and (b) harm caused by the indifference.”).

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G. Count 15—§ 1983 or § 1985 Conspiracy

Count 15—labeled “Conspiracy”—is arguably a claim for conspiracy under 42 U.S.C,

§§ 1983 or 1985, The parties have not briefed the possible application of § 1985, and have
instead focused only on the plausibility of a § 1983 conspiracy claim. “Conspiracy under § 1983
and conspiracy under § 1985 are distinct causes of action with different elements.” Nichols v.
Livingston Cnty., No. 6:18-cv-06669 EAW, 2019 WL 3935998, at *9 (W.D.N.Y. Aug. 20, 2019)
(quoting Hamilton v. City of N.Y., No. 15-CV-4574 (CBA) (SJB), 2019 WL 1452013, at *30
(E.D.N.Y. Mar. 19, 2019)). “However, it is necessary to each of these causes of action that there
has been an underlying constitutional violation.” Jd.

Defendants argue that Mr. Powell has failed to allege any underlying constitutional
violation. (Doc. 9-6 at 28; Doc. 14-9 at 29.) The court rejects that argument because, as
discussed above, at least some of Mr. Powell’s constitutional claims meet the plausibility
threshold.

Defendants also argue that Mr. Powell’s conspiracy claim is vague and conclusory.
— (Doc. 9-6 at 28; Doc. 14-9 at 29.) “Vague and conclusory allegations that defendants entered
into an unlawful agreement will not suffice to state a conspiracy claim under either § 1983 or
§ 1985(3).” Trombley v. O'Neill, 929 F. Supp. 2d 81, 97 (N.D.N.Y. 2013). Mr. Powell refers to
the allegations in Count 15 (Doc. 1-1 §§ 178-181) and argues that he has not yet had the
opportunity to conduct discovery to reveal circumstantial evidence of a conspiracy. (Doc. 13-1
at 22; Doc. 20-2 at 25.) The County Defendants argue that, by citing the need for discovery, Mr.
Powell has conceded the implausibility of his conspiracy claim. (Doc. 18-1 at 12.)

The court concludes that Mr. Powell has failed to state a plausible § 1983 or § 1985

conspiracy claim. The Complaint’s allegations of a conspiracy are entirely conclusory—it lacks

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any factual details of formation of an agreement to violate Mr. Powell’s rights or any specific
acts in furtherance of such an agreement. (See Doc. 1-1 ff] 179-181.) Mr. Powell’s request for
discovery does not cure this defect in the pleading. See Graham v. Peters, No. 13-CV-705JTC,
2013 WL 5924727, at *5 (W.D.N.Y. Oct. 31, 2013) (granting motion to dismiss conspiracy
claim despite plaintiffs request for discovery).

H. Count 16—Punitive Damages

Defendants argue that punitive damages are unavailable against municipalities for § 1983
claims, and that Mr. Powell is precluded from recovering punitive damages against any of the
individual defendants because their conduct “did not even rise to the level of negligence.”
(Doc. 9-6 at 38-39; Doc. 14-9 at 33.) Mr. Powell insists that he has made “several claims
against Defendants that entitle him to [punitive damages].” (Doc. 13-1 at 24.)

The court agrees with Defendants that “punitive damages are not available against a
municipal defendant.” Jarzembek v. Cnty, of Erie, No. 1:20-cv-1796, 2021 WL 2155442, at #2
(W.D.N.Y. May 27, 2021) (citing Kentucky v. Graham, 473 U.S, 159, 167 n.13 (1985)).
Punitive damages can be available, however “against municipal officials named in their
individual capacities.” Girard v, Howard, No. 19-CV-6738S, 2021 WL 1737758, at *5
(W.D.N.Y. May 3, 2021). At the motion-to-dismiss stage, Mr. Powell “needs to allege evil
motive or intent, callous indifference to justify punitive damages.” /d. (citing Smith v. Wade,
461 U.S. 30, 56 (1983)). Since Mr. Powell has alleged some plausible claims, see supra, the
court concludes that his claim for punitive damages should be decided at a later stage of this
litigation. See Dixie v. Antonacci, No. 5:16-CV-1221 (FIS/TWD), 2017 WL 2275017, at *11

(N.D.N.Y. May 24, 2017) (denying motion to dismiss claim for punitive damages at

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Rule 12(b)(6) stage “because Defendant Antonacci’s actions are not outside all plausible
inferences of reckless indifference to Plaintiffs’ rights”).
VI. State-Law Claims

A, Count 1—Negligence

The County Defendants and the City Defendants raise different arguments for dismissal
of Mr. Powell’s negligence claim. The court considers those arguments in turn.

lL. Whether the Claim is Barred by “Documentary Evidence”

Citing N.Y. C.P.L.R. 3211(a)(1), the County Defendants argue that their documentary
evidence “makes it clear that Plaintiff's arrest was privileged, and that the amount of force[] used
by Deputy Madonia during the course of the arrest was objectively reasonable under the
circumstances.” (Doc. 9-6 at 32.) Mr. Powell asserts that his factual pleadings are sufficient and
that the County Defendants’ argument on this point improperly seeks to “flip the burden” that
applies under Rule 12(b)(6). (Doc. 13-1 at 8, 23.)

Under New York’s Civil Practice Law and Rules, “[a] party may move for yudgment
dismissing one or more causes of action against him on the ground that .. . a defense is founded
upon documentary evidence.” N.Y. C.P.L.R. 321ifa)(1). But New York’s procedural rules do
not apply in this case removed to federal court. Fed. R. Civ. P. 81(c)C1); see also Swain v.
Brookdale Senior Living, No. 08-CV-702S, 2009 WL 3162143, at *4 (W.D.N.Y. Sept. 27, 2009)
(“[O]nce a case has been removed to federal court, it is settled that federal rather than state law
governs the future course of proceedings... .” (quoting Granny Goose Foods, Inc. v. Bhd, of
Teamsters & Auto Truck Drivers Loc. No. 70 of Alameda Cnty., 415 U.S. 423, 436 (1974))).
And even if N.Y. C.P.L.R. 321 1(a)(1) did apply, it does not appear that the reference to

“documentary evidence” would authorize consideration of the declarations and written reports

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that Defendants have presented here. See N.Y. C.P.L.R. 321 1(c); see also Sanford F. Young,
Conventional Wisdoms or Mistakes: The Complaint and the Response, 76 N.Y. St. B. J. 28, 34
(2004) (“Examples of documentary evidence typically used are documents that are the subject of
and contemporaneous with the events that are the subject of the complaint—e.g., contracts,
leases, notes, mortgages, deeds, insurance policies and the like.”),® As stated above, the court
declines to consider the extra-pleading materials that Defendants have presented.
2. Particularity and Group Pleading
The County Defendants further assert that the negligence claim should be dismissed
under N.Y. C.P.L.R. 3013 and 3211(a)(7) on the grounds that the Complaint is “vague and
conclusory and fails to identify which purported acts / omission are attributable to the various
County Defendants as opposed to the City Defendants.” (Doc. 9-6 at 32-33.) But as noted
above, New York’s procedural rules do not apply in this federal case. In any case, the court has
already concluded that Mr. Powell’s allegations are sufficiently specific and has rejected
Defendants’ “group pleading” arguments, See supra Sections TI].A and V.A.1, 2.
3. Compatibility of Negligence and Intentional-Conduct Claims
The City Defendants raise a separate argument against Mr. Poweil’s negligence claim.
They rely on this court’s observation that “[u]nder New York law, ‘[w]hen a plaintiff asserts
excessive force and assault claims which are premised upon a defendant’s allegedly intentional

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conduct, a negligence claim with respect to the same conduct will not lie.” Bryant v. Ciminelli,
267 F. Supp. 3d 467, 479 (W.D.N.Y. 2017) (second alteration in original) (quoting Dineen ex

rel. Dineen v. Stramka,.228 F. Supp. 2d 447, 454 (S.D.N_Y. 2002)). In the City Defendants’

8 The decision in Goshen v. Mutual Life Insurance Company of New York, 98 N.Y.2d
314, 326 (2002), plainly fits within the limited categories of examples listed above because it
involved documentation illustrating the contractual terms and conditions.

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view, “it is clear that the conduct [Mr. Powell] complains of is based upon intentional conduct.
(Doc. 14-9 at 15.) Mr. Powell disagrees, asserting that his claims “are not entirely premised on
intentional conduct.” (Doc. 20-2 at 14.)

The court agrees with the City Defendants that under Bryant Mr. Powell cannot proceed
with a negligence claim insofar as it is premised on alleged excessive force and assault, Mr.
Powell cannot recharacterize Defendants’ conduct in “striking, pushing, pulling and throwing the
plaintiff to the ground” (Doc. 20-2 at 14) as negligence. At the same time, Mr. Powell alleges
other categories of negligence, including negligent hiring, negligent retention, and negligent
training and supervision. Since those claims are asserted in separate counts, the court considers
them below. The court will dismiss the “negligence” portion of Count | only insofar as it is
premised on Defendants’ alleged assault and application of excessive force. Count | remains in
the case insofar as it is a § 1983 excessive-force claim against the individual defendants other
than Sheriff Quattrone, Undersheriff Braley, and Chief Jackson. See supra Section V.A.

B. Count 3—“Respondeat Superior/Vicarious Liability”

The court has already concluded that Count 3 must be dismissed as duplicative of the
Monell claim insofar as Count 3 seeks to hold the municipal defendants liable for a § 1983 claim.
See supra Section V.B.2. The court considers here the plausibility of the remainder of Count 3.

The County Defendants seek dismissal of Mr. Poweil’s vicarious liability claims under
N.Y. C.P.L.R. 3211(a)(1) and 3211(a)(7). (Doc. 9-6 at 32.) For the reasons stated above, the
County Defendants are not entitled to dismissal of any claims on the basis of those state
procedural rules. See supra Section VLA.

The City Defendants make a different point, arguing that Count 3 should be dismissed

because respondeat superior is not a stand-alone cause of action. (Doc. 14-9 at 21.) As this

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court has observed, “/rJespondeat superior is not an independent cause of action, but a theory
that must attach to an underlying claim.” Casiano v. Ashley, 515 F. Supp. 3d 19, 28 (W.D.N.Y.
2021) (quoting Alexander v. Westbury Union Free Sch. Dist., 829 F. Supp. 2d 89, 112 (E.D.N.Y.
2011)). Mr. Powell opposes dismissal of Count 3 because, he maintains, his respondeat superior
claim “is attached to the claims in his Complaint.” (Doc. 20-2 at 20.)

The distinction between a cause of action and a legal theory warrants the following
action. The court will dismiss Count 3 insofar as it is a claim for relief. But Defendants have
articulated no basis to preclude consideration of the doctrine of respondeat superior insofar as it
might apply to any underlying tort claims. Accord Doe v. Sarah Lawrence Coll., 453 F. Supp.
3d 653, 670 (S.D.N.Y. 2020) (dismissing respondeat superior “claim for relief’ but declining to
dismiss “the applicability of the doctrine of Respondeat Superior’).

C, Counts 4, 5, and 6—Negligent Hiring, Retention, Training, Supervision

Defendants argue that Mr. Poweli’s negligent-hiring, retention, training, and supervision
claims are not actionable under New York law because all employee-defendants were acting
within the scope of their employment. (Doc. 9-6 at 34; Doc. 14-9 at 22.) They note that the
Complaint alleges that individual defendants acted “in the course and scope” of their duties as
law enforcement officers at the relevant times, (Doc. 1-1 7] 6, 11, 12.) And they rely on cases
describing New York law as follows:

[Where the acts of ‘employees’ are concerned, an employer can be held vicariously

liable under principles of respondeat superior for acts committed. within the scope

of the employee’s employment, or may be held directly liable for ‘negligent hiring,
retention, or supervision’ for acts committed outside that scope.

Mustafa v. Povero, No. 15-CV-6714 CJS, 2017 WL 4169339, at *7 (W.D.NLY. Sept. 20, 2017)

(emphasis added) (quoting Ben v. United States, 160 F. Supp. 3d 460, 476-77 (N.D.N.Y. 2016)).

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In New York, “conduct which occurs during the course of employment will not be
considered to have occurred within the scope of employment if, for purely personal reasons
unrelated to the employer’s interests, the employee engages in conduct which is a substantial
departure from the normal methods of performing his duties.” White v. Montesano, 466 F. Supp.
3d 331, 335 (W.D.N.Y. 2020) (quoting Gore v. Kuhlman, 217 A.D.2d 890, 891, 630 N.Y.S.2d
141 (Gd Dep’t 1995)). “However, an employee will be considered within the scope of his
employment so long as he is discharging his duties, no matter how irregularly, or with what
disregard of instructions.” /d. (internal quotation marks omitted). Since law enforcement
officers “often must use some degree of force to make arrests,” municipalities can foresee that
their officers will use force “given the nature of police work.” Dorsey v. City of Albany Police
Dep’t, No. 1:15-CV-859, 2016 WL 11605138, at *3 (N.D.N.Y. Apr. 13, 2016); see also
McKnight v. City of Rochester, No. 11-CV-6328P, 2015 1462379, at *4 (W.D.N_Y. Mar. 30,
2015) (“{C]ourts routinely dismiss negligent hiring, training and supervision claims asserted
against municipalities arising out of the conduct of police officers who were acting within the
scope of their employment.” (citing cases)).

Here, although Mr. Powell alleges that Defendants used excessive force when they
arrested him, the allegations in the Complaint—even in the light most favorable to Mr. Powell—
do not plausibly suggest a departure from normal methods “so substantial as to remove the
[officers’ | actions from the scope of their employment.” Dorsey, 2016 WL 11605138, at *3.
Moreover, Mr. Powell himself alleges that Defendants were acting within the course and scope
of their duties. See Mustafa, 2017 WL 4169339, at *7 (dismissing negligent training/supervision
claim where excessive-force complaint alleged that officers were acting within the scope of their

employment at all times).

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Mr. Powell’s reliance on Mareano v. City of Schenectady, 38 F. Supp. 3d 238 (N.D.N.Y.
2014), is unavailing. The court in that case stated that an employer can be held liable for
negligent hiring or retention in some circumstances and that “[a] municipality may be held liable
for negligently training or supervising its law enforcement officers.” /d. at 267-68. But the
Marcano court granted summary judgment to the defendants in that case on the negligent hiring,
retention, training, and supervision claims due to lack of evidence of any propensity for using
excessive force and lack of evidence that training and supervision was deficient. It was therefore
unnecessary for the Afarcano court to analyze whether the relevant conduct might have been
outside the scope of employment.

D. Counts 7 and 8—Assault and Battery

Defendants argue that the standards for assessing state-law assault and battery claims are
“substantially identical” to the standards for a § 1983 excessive force claim. (Doc. 9-6 at 36;
Doc. 14-9 at 23.) The Second Circuit has indeed described the relation between these claims as
such. Posr v. Doherty, 944 F.2d 91, 95 (2d Cir. 1991). However, since Defendants are not
entitled to dismissal of the § 1983 excessive force claim, supra Section V.A, they are also not
entitled to dismissal of the assault and battery claims.

E. Count 9-—Battery Committed in Performance of Public Duty

Defendants argue that Count 9—entitled “Battery Committed in the Performance of a
Public Duty”—is not a separately recognized cause of action and is duplicative of Counts |
and 8. (Doc. 9-6 at 36; Doc. 14-9 at 23.) Mr. Powell does not address this issue in his
opposition memoranda. The court concludes that Mr. Powell has abandoned this claim and will
accordingly dismiss Count 9. See Tojek v. Swift, No. 20-CV-755Si(F), 2021 WL 2481874, at *6

(W.D.N.Y. May 10, 2021) (where a plaintiff fails to address a defendant’s argument against a

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claim in a motion to dismiss, the court may consider the claim abandoned), report and
recommendation adopted, 2021 WL 2477163 (W.D.N.Y. June 17, 2021).

F. Counts 10 and 11—ITED and NIED

Defendants argue that Mr. Powell’s TED and NIED claims should be dismissed as
“duplicative and meritless.” (Doc. 9-6 at 37; Doc. 14-9 at 24.) In support of their argument that
the claims are duplicative, Defendants cite Hays v. City of New York, No. 14-CV-10126 (JMF),
2017 WL 782496 (S.D.N.Y. Feb. 28, 2017). Mr. Powell does not discuss Hays in his opposition
memoranda but he maintains that he is entitled to assert his TED and NIED claims in addition to
his other claims and that the claims are plausible. (See Doc. 13-1 at 24; Doc. 20-2 at 25.)

The plaintiff in Hays brought “a litany of claims,” including claims for false arrest and
excessive force. Hays, 2017 WL 782496, at *2. The court dismissed the plaintiff's ITED and
NIED claims, reasoning that “under New York law, a person may not bring claims for
intentional infliction of emotional distress or negligent infliction of emotional distress where, as
here, there are more traditional theories of tort liability available.” /d at *5. The applicable
federal rules of procedure authorize alternative claims in a pleading. Fed. R. Civ. P. 8(d)(2). But
this court has held that ITED and NIED “may not be used as a substitute for an available
traditional tort theory.” Taylor v. City of Rochester, 458 F. Supp. 3d 133, 145 (W.D.N.Y. 2020)
(quoting Ivery v. Baldauf, 284 F,. Supp. 3d 426, 442 (W.D.N.Y. 2018)). Here, as the above
analysis demonstrates, Mr. Powell has alleged multiple traditional tort theories arising out of
Incidents | and 2. Since he has not articulated how his ITED and NIED claims might apply to
any conduct that is not already the subject of other claims, the court concludes that Defendants

are entitled to dismissal of Counts 10 and 11.

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G. Count 14——Failure to Treat

Count 14 includes a passing reference to “medical malpractice.” (Doc. 1-1 § 174.)° But
since the Complaint lacks any allegation that any defendant is a medical professional, Mr. Powell
has failed to allege a plausible claim on that theory. See Durant v. United States, No. 1:17-CV-
0902 (GTS/CFH), 2020 WI. 1274326, at *13 (N.D.N.Y. Mar. 17, 2020) (medical malpractice is
“negligence by a medical professional related to medical treatment or assessment” (emphasis
added)).

Insofar as Count 14 is a § 1983 deliberate-indifference claim, Defendants are not entitled
to dismissal of that claim for the reasons stated above. See supra Section V.F. The parties have
not briefed whether Count 14 might also include a separate state-law claim under N.Y. Civil
Rights Law § 28. That law, enacted and effective on June 15, 2020, provides:

When a person is under arrest or otherwise in the custody of a police officer, peace

officer or other law enforcement representative or entity, such officer,

representative or entity shall have a duty to provide attention to the medical and
mental health needs of such person, and obtain assistance and treatment of such

needs for such person, which are reasonable and provided in good faith under the

circumstances. Any person who has not received such reasonable and good faith

attention, assistance or treatment and who, as a result, suffers serious physical

injury or significant exacerbation of an injury or condition shall have a cause of
action against such officer, representative, and/or entity.

id. There is almost no case law interpreting Section 28, but one district court has observed that
“Section 28 broadens the scope of,an arrestee’s rights against an arresting officer.” Durr,
558 F. Supp. 3d at 42. Since the court has concluded that the Complaint states a plausible § 1983

deliberate-indifference claim, it appears to also necessarily state a state-law Section 28 claim.

? Count 1 includes the same phrase. (Doc. 1-1 952.)

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H. Count 15—Conspiracy

The court has considered whether, in addition to a claim for § 1983 or § 1985 conspiracy,
Count 15 (“Conspiracy”) might be a claim for civil conspiracy under New York law. In order to
state a claim for civil conspiracy, Mr. Powell must allege an “underlying tort plus four additional
elements: (1) an agreement between two or more parties; (2) an overt act in furtherance of the
agreement; (3) the parties’ intentional participation in the furtherance of a plan or purpose; and
(4) resulting damage or injury.” Apace Comme’ns, Ltd. v. Burke, 17 F. Supp. 3d 238, 246
(W.D.N.Y. 2014). The court will dismiss Count 15 insofar as it is a civil conspiracy claim for
the same reasons that Count 15 is dismissed insofar as it is a claim for § 1983 or § 1985
conspiracy. The Complaint lacks any factual details of formation of an agreement to violate Mr.
Powell’s rights or any specific acts in furtherance of such an agreement. Mr. Powell’s request
for discovery does not cure this defect in the pleading. See supra Section V.G.
VIE. Leave to Amend

Mr. Powell requests “leave to amend his pleadings if the Court feels [it] is necessary.”
(Doc. 20-2 at 25.) But this request fails to comply with the requirements of Local Rule 15. Mr.
Powell! does not indicate what amendments he proposes to make or why any amendment would
cure the deficiencies identified above. The request for leave to amend is denied.

Conclusion

The Defendants’ Motions to Dismiss (Docs. 9 and 14) are GRANTED IN PART and
DENIED IN PART. The court dismisses the following claims or portions of claims:

« All claims against the Jamestown Police Department, the City of Jamestown Clerk,

and the Chautauqua County Sheriff's Office;

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Count 1 insofar as it is a § 1983 excessive-force claim against Sheriff Quattrone,
Undersheriff Braley, or Chief Jackson, and also insofar as it is a negligence claim
premised on Defendants’ alleged assault and application of excessive force;

Count 2 (the Monell claim);

Count 3, as duplicative of the Mone// claim and because it is not an independent cause
of action;

Counts 4, 5, 6, 9, 10, 11, 13, and 15;

Count 14 only insofar as it is brought against the County Defendants seeking to hold
them liable for any purported deliberate indifference to medical needs while Mr.
Powell was in the custody of the City Defendants in the JPD squad car and the JPD’s
Central Booking Bureau; and

Count 16 insofar as it seeks punitive damages against any municipal entity.

The following claims have survived the motions to dismiss:

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Count | insofar as it is a § 1983 excessive-force claim against defendants other than
Sheriff Quattrone, Undersheriff Braley, or Chief Jackson;

Counts 7 and 8 (assault and battery);

Count 12 (§ 1983 failure to intervene);

Insofar as Count 14 is a § 1983 claim for deliberate indifference to medical needs,
this count survives except as far as it seeks to hold the County Defendants liable for
any purported deliberate indifference to medical needs while Mr, Powell was in the
sole custody of the City Defendants;

Count 14 also survives insofar as it is a claim under N.Y. Civil Rights Law § 28; and

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o Count 16 (punitive damages), except insofar as it is brought against any municipal
entity.
The parties are directed to complete a Rule 26(f) conference within 60 days and to submit

their report as specified in the rule.

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Dated this day of June, 2022.

sas nay,

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Geoffrey W. Crawford, Judge
United States District Court

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